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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


TRUSTEES of the IAM NATIONAL
PENSION FUND,

                              Plaintiffs,

v.
                                                  Case No. 1:20-cv-00433-RCL
M & K EMPLOYEE SOLUTIONS, LLC;
M & K EMPLOYEE SOLUTIONS, LLC-
ALSIP; M & K EMPLOYEE SOLUTIONS,
LLC-ILLINOIS LEASING; M & K
EMPLOYEE SOLUTIONS, LLC-JOLIET;
M & K EMPLOYEE SOLUTIONS, LLC-
NORTHERN ILLINOIS; M & K
EMPLOYEE SOLUTIONS, LLC-SUMMIT;
M & K QUALITY TRUCK SALES OF
ALSIP, LLC; M & K QUALITY TRUCK
SALES OF JOLIET, LLC; M & K
QUALITY TRUCK SALES OF
NORTHERN ILLINOIS, LLC; M & K
QUALITY TRUCK SALES OF SUMMIT,
LLC; XYZ CORPORATIONS 1-10; and
JOHN and JANE DOES 1-10,

                              Defendants.

                           APPEARANCE OF COUNSEL

To:   The Clerk of Court

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      I, Lynn W. Esp, am admitted pro hace vice to practice in this Court and I

appear in this case as counsel for: M & K Quality Truck Sales of Alsip, LLC; M & K

Quality Truck Sales of Joliet, LLC, M & K Quality Truck Sales of Northern Illinois,

LLC; and M & K Quality Truck Sales of Summit, LLC.


Date: 12/1/2020


                                                      ___________________________
                                                           Attorney’s Signature

                           Lynn Esp, Michigan Bar: P83512; Illinois Bar: 6202375
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                             CERTIFICATE OF SERVICE

       I certify that I filed the attached Entry of Appearance using the Court’s CM/ECF

system and thereby served all counsel of record.

December 2, 2020                                   / s/ Steven M. Oster
                                                   Steven M. Oster




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